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                        UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS

FARMERS TEXAS COUNTY MUTUAL             §
INSURANCE COMPANY, 21st CENTURY         §
CENTENNIAL          INSURANCE    CO.,   §
FARMERS INSURANCE COMPANY, INC.,        §
FIRE INSURANCE EXCHANGE, TEXAS          §
FARMERS        INSURANCE    COMPANY,    §
FOREMOST           COUNTY     MUTUAL    §
INSURANCE COMPANY, FOREMOST             §
INSURANCE COMPANY GRAND RAPIDS,         §
MICHIGAN, HOME STATE COUNTY             §
MUTUAL        INSURANCE     COMPANY,    §
TRUCK INSURANCE EXCHANGE, and           §
MID-CENTURY INSURANCE COMPANY,          §
BRISTOL WEST INSURANCE COMPANY,         §
FOREMOST SIGNATURE INSURANCE            §   Case No.
COMPANY,         FARMERS   INSURANCE    §
EXCHANGE,                               §
     Plaintiffs,                        §   PLAINTIFFS DEMAND TRIAL BY JURY
                                        §
v.                                      §
                                        §
1ST CHOICE ACCIDENT & INJURY, LLC,      §
PHUC VINH “CHARLEY” HUYNH, D.C.,        §
PHUC KIEN “ANDY” HUYNH, D.C., PHUC      §
“NANCY”      HONG     HUYNH,    D.C.,   §
DANIELLE BUI HUYNH, SUSAN HANH          §
HUYNH, HOUSTON PAIN RELIEF &            §
WELLNESS CLINIC, LLC, SMART             §
CHOICE       CHIROPRACTIC,      LLC,    §
MAXWELL ADU-LARTEY, M.D., TEXAS         §
REGIONAL CLINIC, LLC, MEDICAL           §
CENTER       CHIROPRACTIC,      LLC,    §
CELEBRITY SPINE & JOINT, LLC, SCOTT     §
M. HUNG, M.D., PROHEALTH MEDICAL        §
GROUP MANAGEMENT, LLC, DAVID            §
SINGLETON, M.D., REID SINGLETON,        §
M.D., SEE CHIN, M.D., COMPLETE PAIN     §
SOLUTIONS, LLC, MATTHEW DANG,           §
M.D., CHAD PORTER, M.D., ALI            §
MAZLOOM,      M.D.,   ORIGIN   SPINE    §
INSTITUTE, LLC, ORIGIN MRI and          §
DIAGNOSTICS, LLC and MILLENNIUM         §
PAIN & SURGICAL INSTITUTE, LLC,         §
       Defendants.                      §

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                                          COMPLAINT

       COME NOW, Farmers Texas County Mutual Insurance Company, 21st Century

Centennial Insurance Co., 21st Century North America Insurance Co., Bristol West Specialty

Insurance, Farmers Insurance Company, Inc., Fire Insurance Exchange, Texas Farmers Insurance

Company, Foremost County Mutual Insurance Company, Foremost Insurance Company Grand

Rapids, Michigan, Home State County Mutual Insurance Company, Truck Insurance Exchange,

and Mid-Century Insurance Company (“Farmers”) to present this their Complaint against

Defendants 1st Choice Accident & Injury, LLC, Phuc Vinh “Charlie” Huynh, D.C., Phuc Kien

“Andy” Huynh, D.C., Phuc “Nancy” Hong Huynh, D.C., Danielle Bui Huynh, Susan Hanh

Huynh, Houston Pain Relief & Wellness Clinic, LLC, Smart Choice Chiropractic, LLC, Maxwell

Adu-Lartey, M.D., Texas Regional Clinic, LLC, Medical Center Chiropractic, LLC, Celebrity

Spine & Joint, LLC, Scott M. Hung, M.D., ProHealth Medical Group Management, LLC, David

Singleton, M.D., Reid Singleton, M.D., See Chin, M.D., Complete Pain Solutions, LLC, Matthew

Dang, M.D., Chad Porter, M.D., Ali Mazloom, M.D., Origin Spine Institute, LLC, Origin MRI

and Diagnostics, LLC, and Millennium Pain & Surgical Institute, LLC                   (collectively,

“Defendants”), and, for cause, alleges as follows:

                              I.      NATURE OF THE ACTION

The Scheme

       1.      This action is brought by Farmers based upon hundreds of medical bills and

supporting documentation that are fraudulent, which 1st Choice Accident & Injury, and the other

Defendants have knowingly submitted, or caused to be submitted, to Farmers depicting fraudulent

evaluation reports and billing, including substantial templating, up-coding, overbilling, billing for

services not rendered, and unwarranted diagnostic procedures, which pertain to individuals

(“patients”) who were involved in motor vehicle accidents and asserted claims for damages

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against Farmers or individuals who were eligible for insurance benefits under Farmers insurance

policies. The fraudulent billing amounts to more than 14 million dollars in damages suffered by

Farmers.

       2.      The pattern of treatment DOES NOT reflect proper treatment of patients. Rather,

the pattern evinces Defendant’ greater forethought to profiting from unnecessary medical

procedures, and even billing for procedures that were never performed. This pattern of fraudulent

billing completely undermines Defendants’ ethical obligations to make the patients better, and

reveals no readily discernable purpose, except to enrich Defendants at the expense of Plaintiffs. In

fact, an analysis of the purported treatment for patients pushed through the Scheme reflects that

NINETY NINE PERCENT (99%) of the treatment recommendations made by the chiropractors

DID NOT include ANY Chiropractic Manipulative Therapy. This means that the chiropractors

were more interested in furthering this Scheme than providing actual care which in greater

probability, might have made their patients better. Shoehorning the medical procedures in these

methods unabashedly ignored the need for a more personalized treatment plan for the patients.

Therefore, by cutting all corners and pushing patients through a rather pre-engineered assembly

line of treatment, Defendants caused Plaintiffs to incur in excess of 14 million dollars in damages.

       3.      The general pattern or treatment is:




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Background

       4.      This case involves a scheme, which is referred to herein as the “First Choice

Scheme.” It begins with 1st Choice Accident & Injury, a chiropractic provider owned by Phuc

Vinh “Charlie” Huynh, D.C. and Phuc Kien “Andy” Huynh, D.C., with thirteen locations in the

Houston, Texas area, which include Medical Center Chiropractic, LLC, Smart Choice

Chiropractic, LLC, and Houston Pain Relief and Wellness, LLC. 1st Choice additionally contracts

out to Houston Spine & Wellness, ADM Chiropractic, US Advance Chiropractic, Golden

Chiropractic, and Chiropractic Center of Friendswood, and many others, each of which

purportedly conduct initial examinations at their individual facilities, but author reports under the

1st Choice letterhead.

       5.      Phuc Vinh “Charlie” Huynh, D.C. and Phuc Kien “Andy” Huynh, D.C. additionally

own all or a part of three pain management companies, including Celebrity Spine & Joint, LLC,

Millennium Pain & Surgical Institute, LLC, and Origin Spine Institute, LLC.

       6.       Danielle Bui Huynh, wife of Phuc Vinh “Charlie” Huynh, D.C., owns ProHealth

Medical Group Management, LLC, through which Scott Hung, M.D. participates in the scheme.

       7.      The Scheme is controlled by those most closely connected to the Huyhn brothers:




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        8.      The bills and supporting documentation the Defendants submitted, or caused to be

submitted, to Farmers are fraudulent because patterns in the findings within the patients’ initial

examination reports are not credible and evidence a medical build-up scheme with significant

templating. These patterns evidence overwhelming overlap in patient information pertaining to

family history, exercise habits, diet and nutrition, gait, symptoms prior to the accident, orthopedic

testing results, neurological findings, and treatment recommendations regardless of age, gender,

or injury. Patterns are further identified in identical grammatically incorrect sentencing and

missing punctuation, repeated in reports authored by the multiple different providers.

        9.      The fraudulent scheme is designed to enrich Defendants by exploiting two common

claims scenarios, namely (a) bodily injury claims (“BI Claims”), including personal injury

protection (“PIP”) claimants, made by individuals not substantially at fault for automobile

accidents to the insurance companies of the individuals who are substantially at fault for such

accidents (“At-Fault Drivers”), in which they seek to recover economic losses (including past and

future medical expenses) and non-economic losses (including pain and suffering); and (b)

underinsured/uninsured motorist claims (“UM Claims”) made by individuals to their own

insurance companies if their recoveries under BI Claims from the At-Fault Drivers’ insurance

companies are insufficient to compensate the individuals for their economic and non-economic

losses as a result of the accident.

        10.     Under Texas law, insurers may be subject to substantial liability if they fail to

accept “reasonable” settlement demands on BI Claims. Specifically, under the Stowers doctrine, if

(1) an insurer for an At-Fault Driver fails to accept a reasonable settlement demand at or within

policy limits in a short time frame, often 30 days or less, specified in the written demand from the

injured party’s personal injury attorney (“PI Attorney”), and (2) the At-Fault Driver incurs a

judgment in excess of policy limits at trial, the insurer may be subject to liability for the excess

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judgment. See G.A. Stowers Furniture Co. v. American Indemnity Co., 15 S.W.2d 544 (Tex. 1929).

       11.     With respect to a PIP Claim, the claim for medical payment is presented with no

question of liability assessment and full, justifiable reliance upon the veracity of the medical

records and billing presented by the Claimant.

       12.     With respect to UM Claims, Texas law provides that an insurer likewise may be

liable to its own insured for bad faith if it “fail[s] to attempt in good faith to effectuate a prompt,

fair, and equitable settlement of . . . a claim with respect to which the insurer’s liability has become

reasonably clear.” TEX. INS. CODE § 541.060(a)(2)(A); see also TEX. INS. CODE § 542.003.

If found liable for bad faith, an insurer may be responsible for its insured’s compensatory damages,

attorneys’ fees, and potentially treble damages. TEX. INS. CODE § 541.152.

       13.     The Defendants’ scheme is designed to enrich Defendants by inducing Farmers to

(1) rely on their bills and supporting documentation that on their face purport to substantiate the

need for medical treatment and (2) settle BI and UM Claims within policy limits, and often for all

or most of the limits, to protect Farmers and their insureds from potential judgments exceeding

policy limits and/or avoid potential liability for bad-faith claims.

       14.     To facilitate their scheme, 1st Choice and the other Defendants: (a) prepare

fraudulent examination reports; (b) prepare fraudulent billing and medical reports documenting

treatments that are not actually performed; and (c) provide these fraudulent documents and bills to

the PI Attorneys representing the patients in BI Claims, PIP Claims, and UM Claims who, in turn,

submit the bills and documentation to Farmers to support written demands to settle the claims

within 30 days, and often within 14 days.

       15.     The Defendants’ fraudulent bills and supporting documentation are designed to be

and, in fact, have been substantial factors in inducing Farmers to pay the PIP Claims and to settle

the BI Claims and UM Claims at issue by causing them to make higher settlement offers than

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would be warranted without the fraudulent bills and supporting documentation from the

Defendants.

        16.     Farmers has sustained damages in excess of $14 million in paying the PIP Claims

and in settling the BI and UM Claims at issue. The Defendants’ fraudulent documentation and bills

have been a substantial factor and, in fact, have caused Farmers to incur damages by agreeing to

settle claims that otherwise might not have been settled, or by paying more to settle these claims

than they would have had they known the Defendants’ bills and supporting documentation were

fraudulent. Farmers was the target of the Defendants’ scheme, and its damages are directly related

to and are a natural consequence of the scheme. As a result, Farmers is entitled to damages in

excess of $14 million, or to a lesser amount to be proven at trial, but no less than the amounts that

Defendants actually received as a result of the scheme.

        17.     Because Defendants’ actions entailed, in large part, the perpetual criminal behavior

aimed at concealing the pattern of racketeering, Plaintiffs lacked access to all the facts to be put

on notice of their claims, to the point that it was impossible to discern and detail. For these reasons,

Defendants’ pattern of racketeering and fraud remained obscure for several years. The best

estimation by Plaintiffs is that Defendants’ scheme began at least as early as 2016, and it has

continued uninterrupted since that time.

        18.     The Defendants’ scheme began at least as early as 2016, and it has continued

uninterrupted since that time.

        19.     Farmers brings this action asserting a statutory claim under 18 U.S.C. § 1962(c)

(“RICO”), as well as a common law claim for money had and received, to recover actual damages

in excess of $14 million, or to a lesser amount to be proven at trial, but no less than the amounts

that Defendants actually received as a result of the scheme, plus treble damages and costs,

including reasonable attorneys’ fees.

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                             II.     JURISDICTION AND VENUE

         19.   Pursuant to 28 U.S.C. § 1331, this Court has jurisdiction over the RICO cause of

action brought under 18 U.S.C. § 1961 et seq. because it arises under the laws of the United States.

         20.   Pursuant to 28 U.S.C. § 1367(a), this Court also has supplemental jurisdiction over

the money-had-and-received cause of action because it is so related to the RICO cause of action

over which the Court has original jurisdiction that they form part of the same case or controversy.

         21.    Pursuant to 28 U.S.C. § 1391(b), venue is proper in this district because

Defendants reside here and a substantial part of the events or omissions that gave rise to the causes

of action occurred here.

                                     III.    THE PARTIES

         A.    Plaintiffs

         22.    Farmers Texas County Mutual Insurance Company is a citizen of the state of

Texas. It is formed under the laws of and domiciled in the State of Texas. Farmers is licensed and

engaged in the business of insurance in Texas.

         23.    21st Century Centennial Insurance Co. is licensed and engaged in the business of

insurance in Texas.

         24.    Farmers Insurance Company, Inc. is licensed and engaged in the business of

insurance in Texas.

         25.    Farmers Texas County Mutual Insurance Company is licensed and engaged in the

business of insurance in Texas.

         26.    Fire Insurance Exchange is licensed and engaged in the business of insurance in

Texas.

         27.    Texas Farmers Insurance Company is licensed and engaged in the business of

insurance in Texas.

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         28.    Foremost County Mutual Insurance Company is licensed and engaged in the

business of insurance in Texas.

         29.   Foremost Insurance Company Grand Rapids, Michigan is licensed and engaged in

the business of insurance in Texas.

         30.    Home State County Mutual Insurance Company is licensed and engaged in the

business of insurance in Texas.

         31.    Truck Insurance Exchange is licensed and engaged in the business of insurance in

Texas.

         32.    Mid-Century Insurance Company is licensed and engaged in the business of

insurance in Texas.

         33.    Bristol West Specialty Insurance is licensed and engaged in the business of

insurance in Texas.



         34.    Foremost Signature Insurance Company is licensed and engaged in the business

of insurance in Texas.

         35.    Farmers Insurance Exchange is licensed and engaged in the business of insurance

in Texas.

         B.    Defendants

         36.    Defendant 1st Choice Accident & Injury, LLC was formed on or about September

6, 2012, with its registered office located at 12435 Beechnut Street, Suite 101, Houston, Texas

77072. On information and belief, 1st Choice’s governing persons are Phuc Vinh “Charlie” Huynh,

D.C., Phuc Kien “Andy” Huynh, D.C. Accordingly, 1st Choice Accident & Injury, LLC is and

has been a citizen of Texas throughout its existence.

         37.    Defendant Phuc Vinh “Charlie” Huynh, D.C. resides in and is a citizen of the State

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of Texas. Dr. Huynh owns 1st Choice and is linked to numerous other businesses including, Smart

Choice Chiropractic, LLC, Medical Center Chiropractic, LLC, Celebrity Spine & Joint, LLC,

Millennium Pain & Surgical Institute, LLC, Huynh Investment Group, LLC, Huynh Consortium,

LLC, and Signature RX, LLC.

       38.      Defendant Phuc Kien “Andy” Huynh, D.C. resides in and is a citizen of the State

of Texas. Dr. Huynh owns 1st Choice and is linked to numerous other businesses including, Smart

Choice Chiropractic, LLC, Medical Center Chiropractic, LLC, Celebrity Spine & Joint, LLC,

Millennium Pain & Surgical Institute, LLC, Origin Spine Institute, LLC, and Signature RX, LLC.

       39.      Defendant Danielle Bui Huynh, wife of Phuc Kien “Andy” Huynh, resides in and

is a citizen of the State of Texas. Mrs. Huynh owns or controls ProHealth Medical Group

Management, LLC.

       40.      Defendant Susan Hanh Huynh, wife of Phuc Vinh “Charlie” Huynh, resides in and

is a citizen of the State of Texas. Mrs. Huynh owns or controls Principle Consulting, LLC, which

owns or controls ZTTL Growth Investments, LLC, which owns 66% of Origin Spine Institute,

LLC.

       41.      Defendant Phuc “Nancy” Hong Huynh, D.C., sister of Phuc Vinh “Charlie”

Huynh, D.C. and Phuc Kien “Andy” Huynh, D.C., resides in and is a citizen of the State of Texas.

Upon information and belief, Dr. Huynh owns and/or controls Medical Center Chiropractic, LLC

and is actively involved in the preparation of fraudulent records.

       42.      Defendant Houston Pain Relief & Wellness Clinic, LLC was formed on or about

August 8, 2011, with its registered office located at 12435 Beechnut Street, Suite 101, Houston,

Texas 77072. On information and belief, it is owned and controlled by Phuc Vinh “Charlie”

Huynh, D.C. and Phuc Kien “Andy” Huynh, D.C. Accordingly, it is and has been a citizen of

Texas throughout its existence. Houston Pain Relief & Wellness Clinic, LLC has received a

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portion of the funds obtained through the Huynh’s fraudulent scheme.

       43.      Defendant Smart Choice Chiropractic, LLC was formed on or about January 22,

2014, with its registered office located at 12435 Beechnut Street, Suite 101, Houston, Texas 77072.

On information and belief, it is owned and controlled by Phuc Vinh “Charlie” Huynh, D.C. and

Phuc Kien “Andy” Huynh, D.C. Accordingly, it is and has been a citizen of Texas throughout its

existence. Smart Choice Chiropractic, LLC has received a portion of the funds obtained through

the Huynh’s fraudulent scheme.

       44.      Defendant Maxwell Adu-Larty, M.D. resides in and is a citizen of the State of

Texas. Upon information and belief, Dr. Adu-Lartey works at Texas Regional Clinic and is

actively involved in the preparation of fraudulent records.

       45.      Defendant Texas Regional Clinic, LLC was formed on or about March 14, 2018

with its registered office at that time located at 719 Sawdust Road #204, The Woodlands, Texas

77380. Accordingly, it is and has been a citizen of Texas throughout its existence. Texas Regional

Clinic has received a portion of the funds obtained through the Huynh’s fraudulent scheme.

       46.      Defendant Medical Center Chiropractic, LLC was formed on or about March 5,

2013, with its registered office located at 2646 South Loop West, Suite 310, Houston, Texas 77054.

On information and belief, it is owned and controlled by Phuc “Nancy” Hong Huynh, D.C.

Accordingly, it is and has been a citizen of Texas throughout its existence. Medical Center

Chiropractic, LLC has received a portion of the funds obtained through the Huynh’s fraudulent

scheme.

       47.      Defendant Celebrity Spine & Joint, LLC was formed on or about January 19, 2016,

with its registered office located at 12435 Beechnut Street, Suite 101, Houston, Texas 77072. On

information and belief, it is owned and controlled by Phuc Vinh “Charlie” Huynh, D.C.

Accordingly, it is and has been a citizen of Texas throughout its existence. Celebrity Spine & Joint,

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LLC has received a portion of the funds obtained through the Huynh’s fraudulent scheme.

       48.      Defendant Scott M. Hung, M.D., resides in and is a citizen of the State of Texas.

Upon information and belief, Dr. Hung works at ProHealth Medical Group Management, LLC and

is actively involved in the preparation of fraudulent records.

       49.      Defendant ProHealth Medical Group Management, LLC was formed on or about

January 5, 2015, with its registered office located at 12435 Beechnut Street, Suite 101, Houston,

Texas 77072. On information and belief, it is owned and controlled by Danielle Bui Huynh, wife

of Phuc Kien “Andy” Huynh, D.C. Accordingly, it is and has been a citizen of Texas throughout

its existence. ProHealth Medical Group Management, LLC has received a portion of the funds

obtained through the Huynh’s fraudulent scheme.

       50.      Defendant David Singleton, M.D. resides in and is a citizen of the State of Texas.

Upon information and belief, Dr. Singleton works at Celebrity Spine & Joint, LLC and is actively

involved in the preparation of fraudulent records.

       51.      Defendant Reid Singleton, M.D. resides in and is a citizen of the State of Texas.

Upon information and belief, Dr. Singleton works at Celebrity Spine & Joint, LLC and is actively

involved in the preparation of fraudulent records.

       52.      Defendant See Chin, M.D., resides in and is a citizen of the State of Texas. Upon

information and belief, Dr. Chin works at Celebrity Spine & Joint, LLC and Complete Pain

Solutions, LLC and is actively involved in the preparation of fraudulent records.

       53.      Defendant Complete Pain Solutions, LLC was formed on or about April 15, 2015,

with its registered office located at 1445 Ross Ave, Suite 2400, Dallas, Texas 75202. Accordingly,

it is and has been a citizen of Texas throughout its existence. Complete Pain Solutions, LLC has

received a portion of the funds obtained through the Huynh’s fraudulent scheme.




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       54.      Defendant Matthew Dang, M.D., resides in and is a citizen of the State of Texas.

Upon information and belief, Dr. Dang is actively involved in the preparation of fraudulent

records.

       55.      Defendant Chad Porter, M.D., resides in and is a citizen of the State of Texas.

Upon information and belief, Dr. Porter is actively involved in the preparation of fraudulent

records.

       56.      Defendant Ali Mazloom, M.D. resides in and is a citizen of the State of Texas.

Upon information and belief, Dr. Mazloom is actively involved in the preparation of fraudulent

records.

       57.      Defendant Origin Spine Institute, LLC was formed on or about August 8, 2020,

with its registered office located at 83 Silent Manor Dr., Sugarland, Texas 77498. On information

and belief, it is owned by Origin Consulting, LLC (33%) and ZTTL Growth Investments, LLC.

(66%). Accordingly, it is and has been a citizen of Texas throughout its existence. Origin Spine

Institute, LLC has received a portion of the funds obtained through the Huynh’s fraudulent scheme.

       58.      Defendant Origin MRI and Diagnostics, LLC was formed on or about May 19,

2020, with its registered office located at 83 Silent Manor Dr., Sugarland, Texas 77498. On

information and belief, it is owned by Origin Consulting, LLC. Accordingly, it is and has been a

citizen of Texas throughout its existence. Origin MRI and Diagnostics, LLC has received a portion

of the funds obtained through the Huynh’s fraudulent scheme.

       59.      Defendant Millennium Pain & Surgical Institute, LLC was formed on or about

August 25, 2016, with its registered office located at 12435 Beechnut Street, Suite 101, Houston,

Texas 77072. On information and belief, it is owned and controlled by Phuc Vinh “Charlie”

Huynh, D.C. Accordingly, it is and has been a citizen of Texas throughout its existence.

Millennium Pain & Surgical Institute, LLC has received a portion of the funds obtained through

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the Huynh’s fraudulent scheme.

                   IV.     ALLEGATIONS COMMON TO ALL COUNTS

       A.      The Fraudulent Evaluation Reports and Billing

       60.     The Scheme is perpetrated through a series of medical buildup steps that begin with

a patient being examined by a licensed chiropractor with 1st Choice or one of its contracted

providers. The initial evaluations purport to take the following, but not limited to, patients’

symptoms, treatment immediately following the accident, activities of daily living, physical

examination and recommendations. There are numerous instances of fraudulent reports that stem

from the fraudulent business practices of the Defendants. Upon review of a statistically significant

sample of 1st Choice claimants, 497 claimants, Farmers identified unusual patterns and similarities

among the patients, regardless of age, gender, weight, past medical history, or current injuries.

Some examples of these fraudulent activities include the following.

          i.   Grammatical Errors and Missing Punctuation

       61.     The initial narrative reports seen in all of the submitted files were signed and dated

by the authoring provider. The reports themselves contained several inconsistencies that were

carried over from facility to facility/doctor to doctor. For example, one such inconsistency that

was repeated was the grammatically incorrect sentence: “Not all modality (sic) may be use (sic)

dependent (sic) upon patient’s medically (sic) necessity on the date of treatment.” This same

phrase containing the grammatical errors was found in 142 of the patient charts. The use of this

sentence was first seen in a report dated November 9, 2018 and was last seen in a report created

on September 9, 2020. The fact that these grammatical/typographical errors were repeated over

long periods of time, by multiple different providers, in multiple locations would suggest 1st

Choice utilizes boilerplate/templated reports which are cloud based.




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       62.     Adding to such a conclusion is the consistent lack of punctuation within reports

authored by multiple providers in EIGHTEEN LOCATIONS. There were 87 reports authored

by 1st Choice providers that did not contain periods. This lack of punctuation was found in three

distinct parts of the patient charts: the initial examination reports, which carried over to the daily

treatment notes, as well into the re-examination reports (See, Ex. A).

       Claim 3010219308-1-2

 Initial Examination Report:




 Daily Treatment Notes for the same patient:




 Re-examination Report for the same patient:




       63.     These reports were authored by Drs. Africa Trent, D.C., Nancy Huynh, D.C., Chad

Golden, D.C., Khanh Le, D.C., Brian Le, D.C., Gabor Farkas, D.C., Maxwell Adu-Lartey, M.D.,

Africa Trent, D.C., Faiqha Ansari, D.C., Adebola Ayeni, D.C., Chad Golden, D.C., Soyoung Yun,



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D.C., and Gabor Farkas, D.C.. All of these reports were authored under the 1st Choice letterhead,

but from the following locations:

              10694 Jones Road: Cypress-Smart Choice Chiro
              11821 East Fwy. #310: ADM Chiropractic
              12435 Beechnut: Houston Pain Relief & Wellness
              12846 East Fwy.: Golden Chiropractic
              14520 Old Katy Road: Houston Pain Relief & Wellness
              16770 Imperial Valley: Smart Choice / Greenspoint-Smart Chiro
              17115 Red Oak Dr.: ADM Chiro.
              201 Kingwood Med Dr.: Smart Choice
              2030 N. Loop West, #260: Houston Pain Relief & Wellness
              2626 S. Loop West: Medical Center Chiro
              2734 Sunrise Blvd.: #101 Smart Choice
              3344 East FM 528: Chiro Center of Friendswood
              3744 Broadway St. A-2: Medical Center Chiro
              440 Codia Dr. #1502: US Advanced Chiro.
              6065 Hillcroft St., #513: US Advanced Chiro.
              8136 S. Kirkwood Rd. #C: Houston Pain Relief & Wellness
              918 W. Southmore Ave. #100: Houston Spine & Wellness
              9656 Katy Fwy.: Houston Pain Relief & Wellness

       64.    Not only were these punctuation errors found in 1st Choice files, but these

similarities carried over to reports allegedly authored by Scott Hung, M.D. at ProHealth and

various other consulting entities. For example, within Claim 3010091648-1-3 we find the initial

report from 1st Choice provider Gabor Farkas, D.C. at 16770 Imperial Valley, Houston, Texas

under “Greenspoint-Smart Choice Chiropractic” letterhead (See, Ex. B):




       A report is authored by Scott Hung, M.D. from ProHealth Medical Group Management

       three days later that carries the same lack of punctuation:




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       A report is then authored by David Singleton, M.D. some two weeks later at 1900 N.

       Loop West, Suite 160, Houston, Texas under “Celebrity Spine & Joint” letterhead:




       65.    In this one chart, three different providers were seen and in each case the reports

that were generated did not contain periods. The pattern was repeated in 100% of the charts

that did not contain periods between 1st Choice providers and reports produced by Scott

Hung, M.D. There was also a very strong correlation between a third provider who was seen as a

consultant specialist. These reports were authored by Drs. Noah Godwin, M.D., Andrew Lee,

M.D., Kevin Jack Anuvat, M.D., David Singleton, M.D., Maxwell Adu-Lartey, D.O., Reid

Singleton, M.D., See Chin, M.D., and Kenneth Berliner, M.D. from Davinci Pain, Complete Pain

Solutions, Spine & Orthopedic Surgical Institute, Celebrity Spine & Joint, and Lone Star

Orthopedics. This could only be practically done if some type of cloud-based software and

pre-populated, templated reports were being used.

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           ii.   Report Timing

       66.       Further supporting Plaintiffs’ contention that Defendants’ reports are fraudulent is

the time in which these reports were created. Each report documented an examination that would

take even the most skilled provider 45 minutes to perform. 1st Choice billed each initial

examination using the 99203 which has a typical “face-to-face” time of 30 minutes. The following

are examples of narrative reports being created in very short time frames. It would be impossible

to author such reports if they were done contemporaneously at the time the services were rendered.

       Claims 3010119641-1-4, 3010119641-1-3 & 3010119641-1-2 (See, Ex. C).

       Soyoung Yun, DC signed these reports a mere 3 and 14 seconds apart from each other:




       Claims 7001084140-1-4 & 7001084140-1-5 (See, Ex. D).

       These two reports, authored by Faiqha Ansan, D.C., were created within 7 seconds of one

another.




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        Claims 7001244160-1-6, 7001244160-1-5 & 7001244160-1-7 (See, Ex. E).

        Three reports in these claims were authored within 2 minutes and 2 seconds of one

another by Khanh Le, D.C.




        67.     The findings noted above can only be explained with two scenarios: (1) The doctors

are taking notes during the examinations and are authoring the reports at a later time, guided by

their notes or (2) the providers are using a cloud-based boilerplate report writing software that had

pre-populated exam findings. It cannot be the first, because 1st Choice and the other providers

have not produced one set of handwritten doctor’s notes, which they are legally obligated to

preserve and provide. This suggests that the 1st Choice entities and providers are in fact

creating reports with templated, pre-populated exam findings.

         iii.   Exam Findings

        68.     As described above, another uniformity identified among the 1st Choice reports are

the exam findings. Within the sample of claim files, 309 of the 497 patients, or 62%, presented

with cervical spine complaints. 100% of the patients who presented with cervical spine complaints

allegedly had complaints in all six planes of in active motion (flexion, extension, right & left lateral

flexion, right & left rotation). Active motion occurs when the patient is asked to move the joint(s)

on their own. In the 1st Choice population of patients, no matter if the patient presented days or

months after the auto accident, not one patient that presented with neck (cervical) complaints was

able to move their neck in any of the 6 planes of motion without a subjective complaint of pain.

Those same patients also reported pain in all six planes upon passive range of motion. Passive

motion tests occur when the doctor moves the patient’s neck in all six planes; flexion, extension,
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right & left lateral flexion, right & left rotation. As to how all the doctors who worked at the various

1st Choice facilities were able to perform “passive” range of extension by “… look up at the

ceiling: pain level increase” is unknown. Passive range of motions are done by placing the patient

in a position whereby the muscles that affect that joint are not being used. In the cervical spine,

this would contemplate the doctor placing the patient in a supine position, face up. By doing so,

the muscles of the neck would not be recruited and would be in a relaxed state. Once the neck

muscles are in a relaxed state, the doctor would then place his/her hands on the neck and put the

patient through the various planes of motion. In the case of extension of the cervical spine, as to

how the patient in the supine position, face up, could have pain when “look up at the ceiling” is

unknown. (See, Ex. F).

        Claim 3009859591




        69.     The same pattern was found no matter the presenting complaint, with the reported

range of motions (both in “active” and “passive”). Not one patient was able to have a pain free

plane of motion, to any body part, in both passive and active motions no matter the area of

complaint. Remarkably, this same pattern continued even if the patient entered with bilateral

complaints to an affected extremity. For example, no matter if a patient entered with unilateral or

bilateral shoulder complaints, every patient allegedly had pain in all 7 planes of motion (See, Ex.

G).

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       Claim 3009900270




       70.     This was reported in both “active” and “passive” examinations. Not one patient was

able to have a single pain free motion, in either active or passive attempts, no matter if the patient

presented a few days after an accident, or months later.

         iv.   Gait

       71.     The examining providers reported “gait” in the initial examination reports authored

by 1st Choice providers. Remarkably, there are multiple examples of reported “normal” gait in

patients who allegedly had bilateral lower extremity complaints/exam findings. One patient

entered the 1st Choice facility with complaints arising from left knee, left ankle, neck, upper back,

mid back, low back and right shoulder. The doctor recorded positive orthopedic testing of the left

knee and ankle, as well as painful range of motion, active and passive, in both the left knee and

left ankle and foot. In what appears to be a clinical contradiction, the doctor reported this patient’s

gait as “normal gait and balance.”

       Claim 3011902087-1-3 (See, Ex. H):




       72.     Another example is seen in a two-and-a-half-year-old female patient who entered

the 1st Choice facility 4 days after a motor vehicle accident. At that time, the patient only presented

with complaints that arose from both her left and right leg. The doctor reported “normal gait and

balance.”

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       Claim 7000925567-1-4 (See, Ex. I):




       73.     A third patient presented with complaints arising from her left forearm, left thigh,

left ankle, left foot, upper back, low back, right ankle, and right foot. The doctor reported this

same patient had pain, in all planes of motion, in both active and passive exams to both ankle

and feet and listed positive orthopedic tests for both ankles. Yet, the doctor indicated the patient’s

gait as “normal gait and balance.”

       Claim 3010999552-1-2 (See, Ex. J):




         v.    Family History

       74.     The treating chiropractors who authored the initial exam reports reported positive

history of a “family history” on a total of 4 patients out of the sample of 497. The remaining

patient’s family history for diabetes, cancer or hypertension were recorded as denied. The example

below shows “Family History: Denies history of diabetes, cancer, hypertension.” This means

that 99% of the patients that were seen at the 1st Choice facility “denied” any family history

of three very prevalent diseases/conditions found in the normal US population (See, Ex. K).




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       Claim 3009770242




       According to the American Cancer Society, 1 in 3 people will develop cancer in their

lifetime. The American Diabetes Association report 10.5% of population has been diagnosed with

diabetes and 26.8 million adults were undiagnosed. The CDC reports about 45% of US residents

have hypertension. Remarkably, the population of patients seen at the various 1st Choice

facilities “denied” having any family history of diabetes, cancer or hypertension. The

population of patients that presented to the 1st Choice facilities would appear to defy

reasonable medical probabilities.

        vi.   Exercise Habits

       75.    Within the 1st Choice reports, 93% of the patients noted to have exercise habits of

“few times a week”, regardless of age, weight or medical history and conditions. The obesity and

previously noted hypertension that is rampant in the US population, would seem to contradict the

reported population of patients exercising a “few times a week.” Examples of patients who were

reported to have been exercising a “few times a week” include a two-and-a-half-year-old male

with a past medical history of surgery inducing meningitis (See, Ex. L), A seventy-five-year-old

male with high blood pressure who underwent a triple bypass surgery and a stomach tumor and

gallbladder removal (See, Ex. M) and a seventy-four-year-old mal recently diagnosed with non-

small cell lung cancer and is status post radiation at M.D. Anderson (See, Ex. N).


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 Claim 7000246638-1-4 (See, Ex. L):




 Claim 3010931528 (See, Ex. M):




 Claim 7000201871-1-3 (See, Ex. N):




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        vii.   Nutritional Habits

       76.     Virtually 100% of the patients who sought care within the 1st Choice facility had

reports that noted these patients would eat “2 to 3 meals a day.” No matter their age, 2.5 years

old, to 73 years old. Whether or not the patient weighed 409 pounds or 29 pounds, the frequency

of consumed meals was consistently reported the same.

       viii.   Symptoms Prior to the Accident

       77.     100% of all patients seen at a 1st Choice Facility were reported to have been

“asymptomatic” at the time of the subject accident (See, Ex. O).

       Claim 7001111729-1-6




       In Claim 7001084140-1-5, the 1st Choice past medical history records for this twenty-one-

year-old male patient show no history of motor vehicle accidents and indicate “Asymptomatic

right before time of accident” on February 26, 2020. However, when this same patient was seen at

Celebrity Spine & Joint, the doctor’s report noted the patient having been involved in two other

motor vehicle accidents that pre-dated the February 26, 2020 accident (See, Ex. P). This suggests

that the patient’s past medical history was not reported correctly by 1st Choice.




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         ix.   Orthopedic Testing

       78.     The same orthopedic tests were performed by the various 1st Choice providers, for

each presenting complaint. For example, if the patient entered with lower back complaints, all of

the 1st Choice providers performed the same two orthopedic tests: Straight Leg Raising (SLR) &

Kemp’s. The SLR is a nerve root tension test, while Kemp’s test is a foraminal compression test.

Each orthopedic testing procedure attempts to place a given anatomical part, isolating the

anatomical area which may be involved with the presenting complaint. Remarkably, in the

population of patients who presented with lower back complaints, 100% of these patients

had a reported positive SLR finding associated with BOTH legs (See, Ex. Q). None of the

examining providers at 1st Choice differentiated the reported findings, right vs. left, which is highly

uncommon on its own.




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        Claim 3009804900-1-4




        79.     Lumbar sprain/strain injuries will not result in positive SLR findings. This means

that 100% of the patients who entered the 1st Choice facilities with any and all lower back

complaints, never had findings associated with simple sprain/strain injuries. A reported

positive SLR finding would be a finding associated with nerve root injuries (including disc

injuries). The same is true in regard to the reported Kemp’s test. 100% of the patients who had

lower back complaints allegedly had positive Kemp’s tests, bilaterally, which “could indicate

a disc injury.”

        80.     100% of the patient population who entered the 1st Choice facilities with shoulder

complaints, were found to have the same 4 positive orthopedic tests. This included the reported

positive Apprehension test. A truly positive Apprehension test is associated with anterior

instability of the shoulder. Such instability is rare, but not in the 1st Choice facilities. If the test

findings are to be relied upon, this would suggest that 100% of the population of patients who

reported any shoulder complaints had some type instability, or dislocation. Yet, no surgical

procedures to stabilize such a shoulder were found in a review the records.

          x.    Neurological Findings

        81.     The various 1st Choice providers never reported any abnormalities in regard to

dermatome testing, gross touch, light touch and almost always found the same normal findings in

regard to deep tendon reflex in both upper and lower extremities, as well as motor testing. These

normal findings are in direct conflict with the reported orthopedic test findings. True nerve root

injuries, as alleged by the reported SLR and Kemp’s test, would be accompanied by motor, sensory

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and/or reflex deficits. As reported the 1st Choice findings represent a clinical conundrum. In

addition, the 1st Choice examining providers always found normal cranial nerve tests, I – XII.

       82.     The unusual orthopedic testing results coupled with consistently negative

neurological findings advocate that these records are authored in a templated faction to lay the

predicate for their universal advanced imaging recommendations and further pain management

treatment.

        xi.    Treatment Recommendations

       83.     Almost without exception, the various treating providers at 1st Choice made

the same treatment recommendations. 99% of the treatment recommendations, although

made by chiropractors, did not include recommendations for Chiropractic Manipulative

Therapy (CMT), a commonly prescribed treatment for back, neck and shoulder pain.

       84.     69% of the patients were recommended to see Scott Hung, M.D. with ProHealth,

no matter the presenting conditions, or in relationship to the time that had passed from the time of

the auto accident. The overwhelming majority of patients were referred for advanced imaging

(MRIs, CTs) by the treating chiropractor when seen at the time of their respective first re-

examinations. This was coupled by the ubiquitous recommendation for MRI’s made by Dr. Hung.

       85.      A referral was made to Dr. Hung by 1st Choice providers on 69% of patients seen.

Dr. Hung appears to have performed a limited/cursory examination, which does not correlate with

the “comprehensive” examination which was billed for using the 99204 CPT descriptor. It would

appear the actual examination that Dr. Hung performed was limited to almost exclusively palpation

and two orthopedic tests and almost without exception made recommendations for continued

chiropractic care and “Recommend MRI C/L-spine if pain persists after 3-4 weeks of physical

therapy”, which usually coincided with the time of the first re-examination of the patient within




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1st Choice. There were many examples found in the sample records which listed the only positive

findings in red, with the most commonly prescribed treatment in black:

       Claim 3010000372-1-2 (See, Ex. R):




       Claim 3011861566-1-5 (See, Ex. S):




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       86.     Dr. Hung almost without exception wrote prescriptions, typically 3, at the time of

the first evaluation. When these prescriptions were filled, they were most often filled at 1st Choice

owned or affiliate companies, Sterling Pharmacy, Signature Rx and LA Rx Pharmacy with

exceptionally high charges. The average pharmacy bill came to $709.00.

       87.     58% of all patients were also referred for pain management consultation. 66% of

those were seen at one of Celebrity Spine & Joint’s seven locations by Drs. David Singleton, M.D.,

Lan Nguyen, M.C., Samuel Maxwell Adu-Larty, D.O., Noah Godwin, M.D., Reid Singleton, M.D.

and See Chin, M.D.

       88.     Most of the fees and services billed by the various treating providers at 1st Choice

involved passive therapy modalities and more specifically different forms of exercises. The vast

majority of the treatment dates of service consisted solely of patients performing exercises. This

came in the form of using a stationary bike, walking on a treadmill, using weights. Remarkably,

most patient visits included “massage.” While 1st Choice billed the “massage” services using the

CPT descriptor 97124 (which is for a hands-on massage), the report indicates this service was an

“electric hand-held massager” which represents billing for a different service than was

performed.

       Claim 3010119641-1-4 (See, Ex. T)




        xii.   Medical Imaging

       89.     In general, if the patient had gone to an emergency facility and x-rays were exposed,

new x-rays were not ordered by 1st Choice providers. However, if the patient had not undergone

any x-rays prior to seeking care within a 1st Choice facility, referrals were made by 1st Choice


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providers. Most often there were two radiologists who provided the interpretation of the x-rays:

Matthew Dang, M.D. and Chad Porter, M.D. When these two radiologists provided their

interpretations, their respective reports also made additional recommendations to obtain MRI’s

for more clinical clarity. Other radiologists did not make these types of recommendations.

       90.     88% of patients underwent at least one MRI study, with most patients

undergoing two or more MRIs. This is well above a typical chiropractic office, which often

refers 10%-15% of their patients for MRIs. The majority of MRI procedures were conducted

at Memorial MRI & Diagnostic, LLC and One Step Diagnostic. 63% of the patients that

underwent MRI evaluations had interpretations performed by either Drs. Matthew Dang,

M.D. and/or Chad Porter, M.D.

       B.       Farmers’ Injuries Are Directly Related to and are a Proximate Cause of The
                Defendants’ Fraudulent Scheme

       91.      The Defendants are obligated legally and ethically to act honestly and with

integrity. Yet 1st Choice and the other Defendants have submitted, and caused to be submitted, to

Farmers bills and documentation that are fraudulent in that they grossly templated and do not

reflect accurate information pertaining to the actual patients.

       92.      The object of the Defendants’ scheme is to enrich Defendants by causing Farmers

to rely on their fraudulent documentation and bills, thereby incurring damages by agreeing to pay

PIP Claims and to settle BI and UM Claims that otherwise might not have been settled, or by

paying more for PIP Claims and to settle BI and UM Claims than they would have had they known

that the Defendants’ bills and supporting documentation were fraudulent. Farmers was the target

of the Defendants’ scheme, and the damages incurred by Farmers were the direct result and natural

consequence of the Defendants’ scheme.

       93.      Farmers has been damaged more than $14 million in paying the PIP Claims and

settling the BI and UM Claims at issue. The Defendants’ fraudulent documentation and bills were
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a substantial factor and, in fact, have caused Farmers to incur damages by agreeing to settle claims

that otherwise might not have been settled, or by paying more to settle these claims than they

would have had they known the bills and supporting documentation were fraudulent. As a result,

Farmers is entitled to more than $14 million in damages, or to a lesser amount to be proven at trial,

but no less than the amounts that Defendants actually received as a result of the scheme.

                                  V.       CAUSES OF ACTION

          A.     FIRST CLAIM FOR RELIEF VIOLATION OF 18 U.S.C. §1962(c)

        94.      Farmers incorporates, adopts, and re-alleges as though fully set forth herein, each

allegation in Paragraphs 1 through 92 above.

        95.      1st Choice Accident & Injury is a Texas professional association and a participant

in an “enterprise”, as that term is defined in 18 U.S.C. § 1961(4), that engages in, and the activities

of which affect, interstate commerce.

        96.      Defendants Phuc Vinh “Charlie” Huynh, D.C., Phuc Kien “Andy” Huynh, D.C.,

Phuc “Nancy” Hong Huynh, D.C., Danielle Bui Huynh, Susan Hanh Huynh, Houston Pain Relief

& Wellness Clinic, LLC, Smart Choice Chiropractic, LLC, Defendant Maxwell Adu-Lartey,

M.D., Texas Regional Clinic, Medical Center Chiropractic, LLC, Celebrity Spine & Joint, LLC,

Scott M. Hung, M.D., ProHealth Medical Group Management, LLC, David Singleton, M.D.,

Reid Singleton, M.D., See Chin, M.D., Complete Pain Solutions, LLC, Matthew Dang, M.D.,

Chad Porter, M.D., Ali Mazloom, M.D., Origin Spine Institute, LLC, Origin MRI and

Diagnostics, LLC, Origin Consulting, LLC, and Millennium Pain & Surgical Institute, LLC, are

and have been employed by and/or associated with 1st Choice or its affiliate companies. Since at

least 2016, and continuing uninterrupted to the present, the Defendants have knowingly

conducted and/or participated, directly or indirectly, in the conduct of the 1st Choice’s affairs

through a pattern of racketeering activity consisting of repeated violations of the federal mail

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fraud statute, 18 U.S.C. § 1341, based upon the above-described scheme to defraud Farmers by

submitting and causing to be submitted fraudulent bills with substantial templating and

supporting documentation for continuing pain management that was not legitimately performed,

or was not medically necessary, which in turn caused settlement checks to be deposited in the

U.S. mails by Plaintiffs.

       97.      Specifically, the bills and supporting documentation the Defendants submit, and

cause to be submitted, to Farmers are fraudulent because patterns in the findings within the

patients’ initial examination reports, are not credible and evidence a medical build-up scheme

with significant templating. These patterns evidence overwhelming overlap in patient information

pertaining to family history, exercise habits, diet and nutrition, gait, symptoms prior to the

accident, orthopedic testing results, neurological findings, treatment recommendations regardless

of age, gender, or injury. Patterns are further identified in identical grammatically incorrect

sentencing and missing punctuation, repeated in reports authored by the multiple providers.

       98.      Each of the Defendants participate in this scheme understanding the fraudulent

nature of their joint activities, and with the specific intent to defraud Plaintiffs with their

fraudulent records knowing that Plaintiffs will not have an opportunity to adequately investigate

those records due to the time-limited nature of the claims.

       99.      The bills and corresponding mailings, which comprise the pattern of racketeering

activity identified through the date of this Complaint, are described in part in representative

samples of these bills and supporting documentation attached as Exs. U1 – U10.

       100.     Farmers has been injured in its business and property by reason of the above-

described conduct in excess of $14 million. The fraudulent documentation and bills the

Defendants submit, and cause to be submitted, through 1st Choice are at the very least a substantial

factor in inducing Farmers to pay more for PIP Claims and to settle BI and UM Claims that they

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otherwise might not have settled, and pay more to pay PIP Claims and to settle BI and UM Claims

than they would have paid had they known that the bills and supporting documentation were

fraudulent. Farmers was the intended target of the scheme, and their damages are directly related

to and a natural consequence of the scheme. As a result, Farmers is entitled to damages in excess

of $14 million, or to a lesser amount to be proven at trial, but no less than the amounts that

Defendants actually received as a result of the scheme.

       WHEREFORE, Farmers demands judgment against the Defendants for compensatory

damages, together with treble damages, costs and reasonable attorneys’ fees pursuant to 18 U.S.C.

§ 1964(c), plus interest, and any other relief the Court deems just and proper.

         B.     SECOND CLAIM FOR RELIEF MONEY HAD AND RECEIVED

       101.     Farmers incorporates, adopts, and re-alleges as though fully set forth herein, each

allegation in Paragraphs 1 through 99 above.

       102.     Each of the Defendants participate in this scheme understanding the fraudulent

nature of their joint activities, and with the specific intent to defraud Plaintiffs with their

fraudulent records knowing that Plaintiffs will not have an opportunity to adequately investigate

those records due to the time-limited nature of the claims

       103.     Farmers conferred a benefit upon Defendants by paying more than $14 million

for the PIP Claims and to settle the BI and UM Claims at issue, and 1st Choice and the Defendants’

fraudulent bills and supporting documentation were at the very least a substantial factor in

inducing Farmers to pay PIP Claims and to settle BI and UM Claims that they otherwise might

not have settled, and by paying more for PIP Claims and to settle BI and UM Claims than they

would have had they known that the bills and documentation were fraudulent.

       104.     The money that Defendants obtained in connection with the PIP, BI, and UM

Claims at issue in equity and good conscience belongs to and should be returned to Farmers.

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          105.    Defendants are in a unique position to know the amount of money they received

from the more than $14 million that Farmers has paid to settle the PIP, BI, and UM Claims at

issue. Farmers is not currently aware of the precise amount of money Defendants received.

However, based upon the substantial amount of 1st Choice’s charges in the PIP, BI, and UM

Claims at issue – more than $14 million – Farmers alleges, on information and belief, that the

amounts received by Defendants are substantial.

          106.    Because the Defendants’ bills were substantially templated and reflected services

not performed, or not medically necessary, they had no value. Therefore, in equity and good

conscience, Defendants should be required to pay restitution to Farmers in an amount equal to

the total amounts they received as a result of the more than $14 million that Farmers has

collectively paid to settle the PIP, BI, and UM Claims at issue.

          107.    Based upon the Defendants’ material misrepresentations and other affirmative

acts to conceal their conduct from Farmers, their injuries were inherently undiscoverable. Despite

Farmers’ diligence in uncovering the injurious conduct, Farmers did not discover and should not

have reasonably discovered that its damages were attributable to the Defendants’ conduct until

May 2017, at the earliest.

          WHEREFORE, Farmers demands judgment against Defendants for the above-described

damages plus interest and costs and for such other relief as the Court deems equitable, just, and

proper.

                                         JURY DEMAND

          Pursuant to Federal Rule of Civil Procedure 38(b), Farmers demands a trial by jury.

Dated this 24th day of June, 2022.




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                                     Respectfully submitted,

                                     DOYEN SEBESTA & POELMA, LLLP


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